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Case 5:20-cv-01282-DNH-TWD Document 33-8 Filed 12/17/21 Page 2 of 16

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Case 5:20-cv-01282-DNH-TWD Document 33-8 Filed 12/17/21 Page 3 of 16

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Case 5:20-cv-01282-DNH-TWD Document 33-8 Filed 12/17/21 Page 4 of 16

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ay} uM Buoje 6a] siy jo jno Jayem Jeog au} |je UBE|D 0} SayoU! p X G'1Z pauado sem uNys Ba} Yo} S,eWIE]O
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YY COU bh UOULIUFIOU Qo Vvergdg

(NV VE:LL OZOZ/Z7Z/ZO) [O49 UOM-
| EAinqsue7 J aye euwspeyduif] oy} |jIM Huo] Moy :uojseno
£(@UMO. Jog) soUeinsU] Aeyouw oy! Uaysnipe mau tu! - WA Aeuoye Yd]

(Wd 6S:2 0Z0Z/8Z/ZO) IEE YNEy-

‘dn jas sana sem Aeyoyy Sx! JO} LuTejO eB J] payse

osje | “UOI}PUCD 9u} Jo AouaUeUSd By} UO UO}eEJUSLUNDOP AUB SEM S13} JOUJSUM 0} Se BELUBPaOYdUWA] ay}
ynoge Bunjse ebessow yo] | “WA siy job pue yoeq payjeo | ‘yeo Aw Bulusnyes ‘au JO} WA Yo] YejowS uer

40, Burjoo| sway! - Asusoye YIM WA pepe}

(Wid LEE OZOZ/8Z/ZO) IEW Yey-

“gdijou uO AeBYyoW] ONIN

ind pjnom | ples | ‘payeorxojut sem ay UdsYyM Jeo dU} eAUIP O} JoYJOUg siy Buljiuued sem ay pue paunoo0
yUEpIOU! By} UBYM JUased SEM SHI] SE ONss! AjUO AU} JOU SI Jey} ples | “SIU} UO YO@UD 0} BABY PjNom

Ng (SjIYSA au} Jo sn Jo} juSHy Hau. Huisg waumo) ege TLA AN Aq epige o} sAey sjeog ji eins Jou si uer
‘aBbeaao0d Areuiuid apiAosd OYM SUILUJa}ep 0} PeeuU “JSUMO }JeOd 94} SI BY Se yey} ples | “eoueunsul sey ay
jl MOUY JOU PIP UeP jNg JeUMO jJeEOG au] se AE YI OIA] POSSNOSIP SAA “UBAIIINS JG S9S 0} JUDIIO ySe TIM OH
“SIY}] UO JOJOOP Wo Bulyjeuios peau ‘os } pue JUSUBLIOd SEM EWAaPsO0YdWA] dU} JOYJOUM PSssnosip om
yejows uer Aswopy jg 0} eyods

(Wd PEE OZOZ/8Z/ZO) IEW YEy-
‘Jaquunu suoud ‘ssaippe Jaujoig pesu-

aw |je9 0] Aeyowy yueI4 Buryse wa Aeyoy UIGQY UO BBessaw WA 1d]

(Nd SE:€ 0Z0Z/8Z/Z0) |OeW Yyey-

SLU}

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Huijja} INOYUM je.jNSU Ul SEM JOJOWW FEO SU} SIUM JayeEM Oju! jO6 Jo aHuel OS sso} BU} JO} ajqe} Buleq
JUBWUIE]O 88S Pinos | anjeA 0. Ts jo oBues e oney |B juowenbysiq ¢ }eAOwWaL
aJempley puke 41HO JO} saveD.ns 7 80] Sig RY Gueuewwad oq jou Aew Jo Aew) ewapeouduif|
pue Buiro|Bap ay} Jo} Juswapugep pue ainpsosoid Aylayjing Buuinbes suoleisoe7 :enjea aes | MOY SI SIU]
‘uowenjeas oO} spieGel uj “ainpesooid Ayiayjng au} pue JUswWeplgap ay] JOJ apyue au} Aeeu 0} YBIu} pil
WO JEDS JUBWAaINOYsIP sey JUBLUIE|D ‘HulAo|Bep jeusajul ay} Jo JUsWUSPLIqep au} YM Buoye Be} siy Jo

    

 

   

 

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VIG GU-Gr UGULIUFIZU UL Sed

abeyoed puewsp epiaoid 0} Ajje 0} 19}}9] JUSS ‘pa}deooe qey i. SAIBSOl
Jy Aejap Aep 6 Ino yues

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‘wulejo yo Buljpuey JaA0 aye] esesid ‘yey
juswUBIsseey

(NY PZ:LL 6LOZ/90/ZL) IQUE YeEy-
AleSS909U JOU JOe]UOD = JyOR]UOD
pejuoy

(NY PZ:Lb 6LOZ/90/Z1) O48 UEy-
Alessooou JOU JOBJUOD = OeJUOD
pejo9g

(WY SZ:LL 6LOZ/90/Z1) IEW Yey-

Jaye) Aejop yxeu Joy AAO 18S “€ “4)HO pue BulAojGap au} 0} anp aouasajuoco

8SB9 PUL MAIAGI ‘PSAIGD9I BDUO ‘AdUIOPWe wo, saBeyxoed puewap pejsenbe sajsnfpe sod -z Asuioye
JUBUIE|D PUB PSINSU! BF O} Jaya] Ja}sn[pe jo eaHueyo puss “| ‘ueld OZ/GZ/L KON BL/6Z/OL }SE1 — JON07
Aejaq YN ‘Hodey XSIY Od ‘Yejows pue sjeeyoipy Jo ye|joWS ue ‘AoWwORY ¢ :uar] aiqiBilje auesIpayy) LON
‘ASW 6a] uo ulys Buiajoau! punom Bulao|bap jeusejul pue xuejeyd jeuixosd 30} yeas 4;YyO - SuONeie0e7
‘Auntu| ponsul i ‘Auger Ainqsue weil 1g — | ‘seinsodxg uedo uonsejoid Ajjiqey Arewuud
aplaodd jjIM AdlOd AlYa ‘senssi abesaaod ON ‘juswssassy JuawAed |eoIPSU OOOLS plu] Ayypiqel ajbuis
000‘000'L$ :eBeseAog jeujnaN - Ajunog ebnkegd ‘anus, 81 /Z/g JOG souesnsu] SIO} SuNdSgeuy :AdIOd

UB|q PUB MBIASY 3]!-] peubisseay ESRSY

(WY 6:6 0202/22/10) ION UNOy-

puewsp Jo jdiede1 BuuawNnsop 1a}}9] Aejap pL eo Bulpuss jusuyess) UO

ayepdn apiaoid 0} Aye 0} J9}}9] JUSS -(BulAo|Bep pue 4;YyO) arep 0] uMOUy seUN{ul UO pose ye BAIESaI
pueweg pue Jeyje7 Aejaq ‘aviesay :skeq 06

(Wd SZE OZOZ/E0/ZO) IOUEW YLEy-
O¢/Z2/b LNAS YSLLAT AVEO LSV1

 

bev WLNN ANG LON AV1IS0 LXSN ‘ZL/ZL LNAS O€IN10

VBINEUYIUN SOUUIY weD] ]

 

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VWI CU'Ur UOUUIUFICTU

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GIMOUULUIY GOMNY -49O]]

 

(Wd S¥:% BLOZ/6Z/OL) Joqany UeLg-
ayepdnym ul [[ed 0} Wows -WA uel Ae 0} pauejsues ‘soo Aye paleo

(Wd Z¢:2 BLOZ/6Z/OL) Jeqeyy UeUg-

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Case 5:20-cv-01282-DNH-TWD Document 33-8 Filed 12/17/21 Page 12 of 16

PW YUU VOU KEY Gkvyyrrd

(Wd 90:Z 6102/22/20) Jeqeny ueLg-

(SELZSLE6HZ) MUI TIOQoO¢MOUY },USSOP I]I}S Me] Ul J}SIS SI PUe peueddey JeyM Ajoexe ole]s

PINoS JeuyeU -WOOoJUJeEg 94} 0} 06 0} Ul JUSM ASU} SYUIY} BY -[]2q}00} 94} 196 0} Jo Buildin ysnf sem Jaujoig
sly pue YOOP 0} Bsoj9 Os aidM Ay} Sous 0} pesoddns },usIeM AU} ‘JeEog au} Jo 96 om) au} Mes JO Peay
}E0q SY} UO BUD OU -UBdYO J8Y}960} Jeo |/e Asy} pue Jeo Bu} UO Je}0} ajdoed || a7aMm SiaU}-sdI]0d |}eEo 0}
S1OYS 0} ]UAM pue }eog ay} UO WAU} IYyBnoIg Aay} -WEIIIA\A PUELY Soy! PUE ALY QJIM s,exI) 114 peYy yeog
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yeU} pojejs Seyi Jeyjolq sly ‘Aem JOUJO SU] PuNoJe YOR JeOg PsN} ay Os ‘Jeog sy} Ul yOeG 306 aujoIg siy
‘wiy Bulyojem deay 0} seaiBap 9g], punoie }eog au} pausn} ey pue Je}eM oy} UI 0B saujoig siy ‘yo eulbue
2U} UN} },UpIp ‘ajp! Ul og ayy ind ay os ‘496 0} payUeM pue JA}EM du} UI [}eq]OO} e Mes SHI JOUJOIG

siy ples ay ‘yoop au} wos} spueA OOS Jnoge Siam pue Buljeog wo. yoeG BulAup siem Adu} peyeys peunsul
PSINSU! JO S/J YOO}

(INd ¥S:Z 6LOZ/E0/G0) 48qe\\ UeUg-

JUSWeSd] UO ayepdn Jo] peyse pue sijiq pew ul

Huipuejsino OOO] Uey} esolW si 819U} Se jno juss Aed pal JO} YOSYD SU} SyI| P|NOM Sy MOY MOLY O} Pa]ueM
Aye/mM WowA] pue pal|eo

(Wd 99:2 6L0Z/€0/G0) Jeqeny UeLg-

yoayo Aed paw au} pues 0} S1BYM MOU BW 49] PUe |}ed O} Aye payse -Adljod uo xew Jed QOQOL je

Aed paw -juewjesi} uo ajepdn apiaoid 0} Aye 0} Ja}9] JUSS -a}ep 0} UMOUY SauNiul UO pesea le SAISSAI
ty Aejap Aep OG jno Juss

(Nd PZ:€ GBLOZ/E0/SO) 4eqany UeLg-
HUI] UEY} SOW ae sijiq doo- Aeusoye wody WA sod Aunqsuey welj|iM 0} ajqeAed

OOOL JO JUNOWE Ul YOSYO penssi

(Nd ZS:Z1 6L0Z/L0/80) 49qenn UBLg-
ayepdn/m ul eo 0} Aye 10) oBessetu Yo}

(Nd 89:21 6L02/L0/80) Jegan, UBLg-

jusujesi} uO

ayepdn spiaosd 0} Aye 0} J9a}}9] ues -(6ulAo|Bap pue 4/40) slep 0} umouy sauniul uo peseq iil je salasal
Jy Aejap Aep gg jno juas

 

WME UUs wou y 4agopy

 

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VICI GO-GO UCUGIUFIOU uGbevyveod

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esealoul JNO UBM pue WO | juabe payjeo.mojeg sejou ul Bulao|bep pue juo. 0] enp

ma DAIBSSOS PSSesloul

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S/1 OI] PINOM -Ul jjed YUeI SABY O} UIGOI/M WOWA] puke paleo

(WY €0:6 8LOZ/PL/LL) 4eqeM UeLg-
peajuesaid wilejo ou -iq Buisojo

(AY 70:6 8LOZ/PL/LL) Joqena UeLg-
juswy}ee) UO ayepdn apiaoid 0} Aye 0} 19}}9] JUSS -9}ep 0} UMOUY saUNTul UO peseq fie dNESAl
Jy Aejap Aep O6 No Juss

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SL/PL/LL Payep jelusp lq pay
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JJOM SE UCI LWOJJ SUO P9SU JN UIGOJ PeINSU! Woy JUsWAaye}s SACU
PSINSU! O} JO}a] Juss

(Nd VL:¥ 6LOZ/90/Z0) 4eqenn Ueg-
jusw}e9.3 UO syepdn apiaoid o} Ajye 0} Ja}9] JUS -a]ep 0} UMOUY selNTU! UO paced le BAI@SOl
Jy Aejap Aep Og ino Juas

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-Sak pajejs- ,aaijoe pue uedo

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UMOUUYP WY GCOLIYy 40a] ]

 

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WWE UU kr UEUOIU FIoU YRwwedG

VIVE MUgVPYy UUM Yy woo] |

 

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ABusOje 0] soquey ajes puz jues

(IY 02:8 8LOZ/9L/OL) Jeqeny UeLg-

JUDO SIY O} AJOSUIID QOOL$ ou} Aed 0} aw s}ueM ay

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Case 5:20-cv-01282-DNH-TWD Document 33-8 Filed 12/17/21 Page 15 of 16

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peye|dwog yoejuey = pejuod pejusseid wiejo ou ‘painsul Jed
OJUIJOB}UCD OU

(NY 85:6 8102/22/80) 4egan UeUg-

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Aue 0q « }e0q ay} UMO JOU saOp pansu! uno souls Ajdde },upjnom Uolsnjoxe Yesoiayem ‘ou ge6eJaAo0o yoeRq
SAIB JO SJEUILUI|S SUOISUB]X9 JO SUOISNJOXS AUB OC + BL/EL/JO-SL/EL/Z0 ‘SOA ¢,As0]U9] BBeIaAGD, OU}
ulyjIM pue posed Aoijod ay} Buunp peyiwwos asuayo ,fAunlul BulsiUeApe puke [eUOSJag,, SY} SEM 10 INDO

‘ ebewep Ausdoid, ‘,Aunfur Ajipog,, uj} piq » pualjy pue Me} Ul Je}sis jo Aed pausiq gsjusweauBy Buunsuy
@U} Ul pequosap se sjuewAed jeoipew Jo ,Aunful Buiseape pue jeuosied, ‘,abewep Ausdoig, *Aunful
Ajlpog,, Jo asnedaq jyBnos sebewep au] ay » juapiooe jeog ‘S0UdUNIIO ¢,,9SUdYO, Ue JO ,sdUeLINDIO,
ue Ssoj au} S| - AByoyy yUeI4 poweu ‘sof ¢poinsul ue BHessaoo Hulysas Aue JO UOSJEd Bu} S} -

dew peoy ebeiaaod jerouag

(WY OL:01 8L0Z/ZZ/80) Jeqenn UeLg-

SWS OP IIIM SYS -OuW [/ed JaWeD yeu} SAeY pue JaLWWed

soueinsul ewoy siy Y6noiy} wilejo e aoe|d jaeyoiyy Me} U! JOUJOIG JOY SAeY OUS Tey] payse osje -pajy Bulag
Sq J] Bas pue WU} YM s6e18A00 Aed pew JaA0 06 ued | OS OU |Weo AW pue WIAA GACY 0} 18U payse |
yoeq painsul payjeo

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ojul dsw pue ayepdn fui soy Aes WoWwAl SHWI|/M yore JUaS
JO} P,odu

(Wd PLS SLOZ/LZ/60) Jeqeny UeUg-
JOQIEY Jes ]S]}
ABuUJO}e 0} JB} a] JUSS

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VVC) GOGO ULUOIVFIOU vrweed

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(WY 02:6 8102/22/80) Jeqenn UeUg-

peyajduiog yoejUuOD = yoeRejuOD

P2JSAOD JI BAS 0} YOO} 0} Peau /Sssod0jd JSAO JUSM -}8A Pa}USseld Jou WIeIO ‘soueINSU! SLUOY SAeY Soop
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alum Bulyeog uM pebieyo yUeI-4 JOAUP PUB 9UdIS 0} AWD adI|0d -AeyO HULAAODDS Oe Y]Og -80) e ayoNq
pue suoljejaoe| Ba) pey jig ‘quuiny} uayolg e pauleysns pue Wwe Jay UO SUO}eJe0e] pey Awy -paintul qiem
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‘saynuiw ajdnoo e peyied Ajuo sam Ao} ‘jeog du} Jo 1S8J SY} 0} JsUMOUYSquN WoolYyJeg au] 0} 06 0} Jay}eEm
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s,pounsul) Aeyoyy joeuoiy Aq pauMmo yeog UOOUO, Se} JOO} 9z e ul JoBuassed e sem aUsS Pasje}s painsul
USE} S/J -JOeR!}UOD |eNIUI

(INV 82:6 SLOZ/ZZ/80) JeqenA UeLG-
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